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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
             v.                           )      CAUSE NO. 3:14-CR-22 RM
                                          )
 JAVIER TREVINO (02)                      )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty entered on May 22, 2014. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 36], ACCEPTS

 defendant Javier Trevino’s plea of guilty, and FINDS the defendant guilty of Count

 3 of the Indictment, in violation of 21 U.S.C. § 841(a)(1).

       SO ORDERED.

       ENTERED:      June 12, 2014



                                   /s/ Robert L. Miller, Jr.
                                 Judge, United States District Court
                                 Northern District of Indiana
